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                                                             EXHIBIT B
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                                                                                                    FILED
                                                                           2ND JUDICIAL DISTRICT COURT
                                                                                        Bernalillo County
STATE OF NEW MEXICO                                                                      7/1/20211:54 PM
COUNTY OF BERNALILLO                                                              CLERK OF THE COURT
IN THE SECOND JUDICIALDISTRICT COURT                                                        Patricia Serna

Haley TUCKER,
           Plaintiff,
                                                                     D-202-CV-2021-03997
                                                              No._________
       v.

UNIVERSITY OF NEW MEXICO
BOARD OF REGENTS;
UNIVERSITY OF NEW MEXICO SCHOOL OF LAW;
DEAN SERGIO PAREJA, in bis official capacity,
         Defendants.

                     COMPLAINT TORECOVERDAMAGESDUE TO
                         DEPRIVATION OF CIVIL RIGHTS

                                 JURISDICT ION AND VENUE
       Plaintiff brings this coµiplaint under Title IX of the Educational Amendments of 1972 (20

USCS § 1681), The Clery Act and amendments to lligher Education Act of 1965 and U.S. Const.

amend. XIV, 42 U.S.C. § 1983, NM Const. Art. II. Sections 4, 17, and 18, and the New Mexico

Civil Rights Act, 2021 N.M. ALS 119, 2021 N.M. Laws 119, for damages resulting from the

Deprivation of Civil and statutory Rights inflicted upon her by Defendants. The court has

concurrent and original jurisdiction of this action (28 U.S.C. Sec. 1343, Martinez v. California,
444 U.S. 277, 283 n.7 (1980)) and of the p�es. Venue is proper in this judicial district as the

incident complained of occurred in this district. Plaintiff alleges as follows:

                                             PARTIES

1.     Plaintiff is a resident of Los Lunas, New Mexico. She is a citizen of the State of New

Mexico and a citizen of the United States ofAmerica.

2.     Plaintiff studied law at the University of New Mexico School of law from 2017 to 2018

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and was a recipient of the Family and Child Justice scholarship / fellowship.

3.      Defendant University of New Mexico Board of Regents ("UNM'') is a public body and

instrumentality of the State of New Mexico and the empowered governing authority for UNM, an

educational institution, with its primary campus in Bernalillo County, New Mexico. (''Defendant"

and ''UNM'' are treated synonymously herein).

4.      Defendant University of New Mexico School of Law ("UNMSOL") is the law school of

the University of New Mexico, located in Albuquerque, New Mexico. It is the only law school in

the state of New Mexico and receives various sources of State and public funding.

5.     Defendant Dean Sergio Pareja currently serves as Dean of the law school since August

2015 to present. He is sued in his official capacity.

                                   FACTUAL BACKGROUND

6.      On July 26, 2017, the 13th Judicial District Court for Valencia County, State of New

Mexico, issued an Order of Protection in favor of Plaintiff/ PetitiQner Haley Tucker as protected

party, which restrained RespQndent Joel Strandberg, Plaintifrs then-husband and father of her

children, from making contact with Plaintiff in any way, coming within 25 yards of her person, or

100 yards of her protected address, in addition to continuing acts of domestic violence, stalking,

and/or sexual assault. See (D-1314-DV-2017-249, related to D-1314-DM-2016-555).

7.      The Valencia County District court made factual findings of domestic violence relative to

Mr. Strandberg, which did not require re-litigation, re-interpretation, and/or negotiation in the halls

of the school of law.

8.     Plaintiff Tucker and Mr. Strandberg were both concurrently attending law students at

Defendant UNMSOL.

9.     Prior to August 14, 2017, Defendant UNMSOL was provided a copy of the Order of
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       Protection.

10.    On   August 14, 2017, Nancy Huffstutler, Associate Director of Student Affairs, was

provided a copy of the Order of Protection.

11.    Huffstutler met with Plaintiff Tucker, but did not take any action to set physical safety

parameters for the Plaintiff, give any instructions on how the Plaintiff could maintain safety on the

campus, engage with Plaintiff in safety planning, or advise Plaintiff on reaction and remedies

should violations occur.

12.    According to Plaintiff, Huffstutler suggested a 'wait and see' mentality, but did not engage

with Plaintiff Tucker to develop an alternate or staggered class schedule with Strandberg, or

otherwise develop a strategy to enforce the 25 yard no contact prohibition, between the students,

while engaging in school-wide events, or occupying common areas.

13.    Plaintiff informed th� Associate Director of Student Affairs of Mr. Strandberg's

documented mental illness, rep,eated :past violence, and that he possessed a weapon.

14.    On August 22, 2017, Mr. Strandberg, came weU within 25 yards of the Plaintiff (hereinafter

''Violation #1") and said, "I love you" to PlaintitTTucker usingAmerican Sign Language (in which

both Plaintiff and Strandberg are fluent due to their deaf child) (hereinafter "Violation #2''), in
violation of the Order of Protection.

15.    Within the week following the violations, Plaintiff notified the Associate Director of

Student Affairs Huffstutler of the violation, as well as previous violations that were happening in

text message form.

16.    After reporting Violations #1 and #2 to Defendants, Defendants took no action in response
to the violations of which Plaintiff Tucker was made aware.

17.    On September 9, 2017, Mr. Strandberg again appeared on campus, and followed Ms.
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Tucker through the forum (common area at UNMSOL) until another student intervened

('Violation #3,,), in violation of the Order of Protection.

18.      After reporting Violation #3, Defendants UNM and UNMSOL again responded by taking

no action of which Plaintiff Tucker was made aware.

19.      On October 4, 2017, Mr. Strandberg texted the minor child and emailed Ms. Tucker, in

violation of the Protection Order, and Defendants responded by taking no action of which Ms.

Tucker was made aware (''Violation #4").

20.      After reporting Violation #4, Defendants Responded by requesting the Plaintiff quit school

or talce a voluntary leave of absence, due to the stressful effects Mr. Strandberg's uncontrolled

actions were having on Plaintiff's academic performance.

21.      On November 24, 2017, Mr. Strandberg texted Ms. Tucker ,s minor child, in violation of

the Protection Order ("Violatipn #5,').

22.      Defendants responded to Violation #5 by talcing no action of which Plaintiff was made

aware.

23.      On December 1, 2017, while Ms. Tucker was studying for final exams, Mr. Strandberg

emailed Ms. Tucker again (now using his UNMSOL email account), in violation of the Protection

Order ("Violation #6").

24.      Defendants responded to Violation #6 by talcing no action of which Plaintiff was made

aware to the repeated, and now flagrant, violations being committed by Mr. Strandberg.

25.      On December 7, 2017, Ms. Tucker took her Criminal Law exam.

26.      On or about December 8, 2017, Plaintiff Tucker sought counseling with Student Health

and Counseling (SHAC) to deal with the stress caused by Mr. Strandberg's continuous violations,

uncontrolled by Defendants.
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27.    When Plaintiff Tucker exited her appointment, Mr. Strandberg was standing in the waiting

room, and did not leave as required by the Protection Order ("Violation #7").

28.    Plaintiff Tucker left without making a follow-up appointment at SHAC because of

Strandberg's presence and the flagrant violation of her medical privacy.

29.    Defendants UNM and UNMSOL responded by taking no action in response to Violation

#7 of which Plaintiff Tucker was made aware.

30.    On December 11, 2017, prior to her Contracts exam, Ms. Tucker was in the school dining

area. Mr. Strandberg again appeared on campus and entered the dining area even though

Ms.Tucker was already there, in violation of the Protective Order ("Violation #8").

31.    Plaintiff Tucker was required to take her contracts examination directly after Violation #8,

and Defendants responded by taking no action of which Plaintiff Tucker was made aware.

32.    The violations were continued throughout the �tirety of the school year with Defendants

responding by talcing no action of which Plaintiff Tucker was made aware.

33.    Instead of seeking to enforce the Order of Protection, after being made aware of numerous

alleged violations, Defendants again requested the Plaintiff quit school or take a leave of absence,

due to her now-suffering academic performance.

34.    Strandberg and Defendants were creating a hostile environment, in which the Plaintiff was

solely responsible for keeping herself and children safe from the continuous aggressions by Mr.

Strandberg.

35.    Knowing Plaintiff was under severe duress, Defendants presented Plaintiff with the

unreasonable and false choice of having to leave campus or stay in hostile danger.

36.    On April 9, 2018, Mr. Strandberg approached Plaintiff Tucker while in the parking lot,

coming within 25 yards of her person (''Violation #9").
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37.    Plaintiff Tucker got into her car to escape Strandberg by driving away, and he walked

alongside the moving vehicle, angrily mouthing words through the car window ("Violation #1 0").

38.    On April 11, 2018, Ms. Tucker emailed Nancy Huffstutler, notifying her that he had

violated the Protection Order again by coming within 25 yards of her and directing words toward

her through the car window (Violations 9 and 10).

39.    Plaintiff Tucker reminded Ms. Huffstutler that Mr. Strandberg had escalated around final

examinations the previous semester, and asked for suggestions on what to do.

40.    Instead of seeking to further investigate the alleged violations detailed supra, or

recommending that Plaintiff Tucker contact either the UNM or Albuquerque Police Deparbnent,

Ms. Huffstutler recommended the Plaintiff withdraw from the university.

41.    On April 19, 2018, Joel Strandberg harassed and battered law student R.K. [initials to,

protect privacy], leading to Strpndberg's temporary suspension, as well as arrest by APD.

42.    On April 20, 2018, 1:Q.e Plaiµtiff W8$ again requested by the Defendants to remain off

campus and to withdraw from the university�

43.    On June 4, 2018, after the Plaintiff filed a Title IX complaint with Defendant UNM Office

of Equal opportunity responded in an email, that "Our office does not have jurisdiction over

violations of a protection order granted by the courts and/or conduct directed towards your

children."

44.    Because Violations #1 - 10 detailed supra involved both Plaintiff and Plaintiff's minor

children, the declination by Defendant UNM to initiate investigation and resolution to Plaintiff's

Title IX complaint was not only highly improper, but also represents a declination ofjurisdiction,

and an unreasonable barrier to Plaintiff exhausting her internal and administrative remedies.



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45.     As the violence and violations by Mr. Strandberg were not only directed to the Plaintiff but

also towards the Plaintiff's minor children, the Plaintiff could no longer safely bring her children

to campus.

46.     As a family child justic� scholar, the Plaintiff could no longer advocate for justice for either

families or children (the entirety of her purpose attending UNMSOL), or condone the lack of action

by the Defendants, in her partipular case.

47.     On June 6, 2018, the Valencia County District Court extended the Order for Protection to

expire in 12 months, due to the repeated and flagrant violations by Respondent Joel Strandberg.

48.     On July 2, 2018, Plaintiff was given notice of suspension based on academic performance,

as a failing grade, in one class, had dropped her GPA.

49.     Thereafter, the Plaintiff met with the relevant committee and wrote a Petition for Relief

from suspension talking about the continued violence, stalking, and severe emotional abuse of Mr.

Strandberg, the lack of any action by the Defendants, and the difficulty in having to: A) be safe

enough to remain on campus, B) allow for such violence to impact other students' lives, and C)

continue being a family child justice scholar.

50.     Plaintiff Tucker also informed Defendants that she was unable accept the condonation
through inaction of Mr. Strandberg's violence by Defendants, as doing so did not only perpetuate

a hostile environment for the Plaintiff: but was morally difficult to justify, as continuing to be a

student at UNM endangered future generations of students, who are also survivors of domestic

violence, sexual assault, stalking, and/or harassment and abuse.

51.     Plaintiff Tucker informed UNM that unless changes were made to allow for increased

institutional safeguards and her personal safety, she was finding it extremely difficult to consider

returning to UNMSOL.
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52.     Shortly thereafter, Defendant UNM denied the Plaintiff relief from suspension and the

Plaintiff was suspended from school.

53.     Plaintiff Tucker exchanged correspondence with Defendant Dean Pareja detailing certain

alleged violations and Defendant UNMSOL's reaction and lack of action to Plaintiff's concerns,

but took no remedial action of which Plaintiff was made aware, nor did he seek to supervise,

investigate, correct, or discipline, any of the employees at UNMSOL under his care and concern

via principles of respondeat superior, or later seek to override the decision to suspend Plaintiff.

54.     On July 5, 2019, Defendants informally discussed and mediated the above-mentioned

claims, upon a timely-filed Petition for Reinstatement.

55.     Defendants offered Plaintiffreinstatement at the law school for the 2019, 2020 school year,

an offer which was rejected by Plaintiff because it did not include, or even consider, any back

tuition reimbursement, agreement to any of the institutional refonns detailed and requested herein,

nor did it provide for specific future guarant�es of safety for Plaintiff, since her former husband's

return to the law school was still very much a possibility at the time of her proposed reinstatement.

See Requests for Relief: infra at pp. 14, 15.

       COUNT I -TITLE IX - DEPRIVATION OF EDUCATIONAL OPPORTUNITY
        56.    Plaintiffs incorporate herein the allegations in paragraphs 1- 55 as if stated herein.

        57.    Under Title IX of the Educational Amendments of 1972, Plaintiff has and had a

right to attend law school and thrive in an academic environment free from domestic violence,

stalking, sexual harassment, and/ or sexual assault, and could not be excluded from those activities

on the basis of sex (20 USCS § 1681).

        58.    Female-identified and LGBTQ+ students face a disproportionate amount of sexual

assault, sexual harassment, violence, stalking, disproportionate treatment, discrimination, and

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harassment on campus compared to their male-identified, cisgender, and heterosexual peers L _

       59.     Defendants violated Plaintiff's Title IX rights when they: 1) ignored the Plaintiff's

pleas for safety and failed or refused to develop a reasonable safety plan upon receiving notice of

a valid Order of Protection; 2) failed to enforce the 25 yard provision and the other on campus

provisions written into the Order of Protection from the school's common areas, placing the burden

of enforcing such on the Plaintiff instead; 3) allowed the Plaintiff to have no personal boundaries

from her abuser while on campus; 4) forced the Plaintiff to endanger her children if she brought

them to the campus, in order �o be successful in completing her education, and in the absence of

reasonably affordable and available childcare; (5) declined to investigate or adjudicate her timely­

filed Title IX Complaint.

       60.     Defendants acts and omissions constitute discrimination on the basis of sex and

gender as confirmed by develqped caselaw interpreting Title IX.

       61.     Defendant Pareja's actions am;l omissions contributed to a pattern and practice of a

hostile educational environmel).t and denial of Plaintiff's rights, for which he is responsible in his

official capacity, via principles of respondeat superior.

       62.    Defendants are the actual and proximate cause ofthe damages sustained by Plaintiff,

including, but no limited to, violation of her rights, educational opportunities, and educational

advancement, lost and unreimbursed tuition, lost prospective employment and wages, emotional

distress, loss of enjoyment of life, and other damages detailed herein.

1
 Nearly 3 in 10 women (29%) and 1 in 10 men (10%) in the US have experienced rape, physical
violence, and/or stalking by a partner and reported it having a related impact on their
functioning. Black, M.C., Basile, K..C., Breiding, M.J., Smith, S.G., Walters, M.L., Merrick,
M.T., Chen, J., & Stevens, M.R. (2011). The National Intimate Partner and Sexual Violence
Survey (NISVS): 2010 Summary Report. Atlanta, GA: National Center for Injury Prevention and
Control, Centers for Disease Control and Prevention.
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                    COUNT II- FOURTEENffl AMENDMENT CLAIM
                        (DENIAL OF EQUAL PROTECTION)

       63.     Plaintiffs incorporate herein the allegations in paragraphs 1-62 as ifstated herein.

       64.     Plaintiff had and has a right to Equal Protection of the laws under U.S. Const

amend XIV and 42 U.S.C. §1983.

       65.     In placing the rights ofJoel Strandberg, a factually-litigated domestic abuser, equal

to, or above, the rights of Plaintiff's safety and educational interests, Defendants violated

Plaintiff's right to Equal Protection ofthe laws.

       66.     Defendants are the actual and proximate cause of the damages sustained by

Plaintift: including, but no limited to, violation of her rights, educational opportunities, and

educational advancement, lost and unreimbursed tuition, lost prospective employment and wages,

emotional distress and loss of�joyment of life, and other damages detailed herein.

                            COUNT ill - NM Const. Art. II Sec. 18

                             (EQUAL PRO�CTION
             UNDER THE CONSTr:fUTION OF TllJ STATE OF NEW MEXICO)

       67.     Plaintiff incorporates herein the allegations in p�graphs 1- 66 as if stated herein.

       68.     "No person shall be deprived oflife, liberty or property without due process of law;
nor shall any person be denied equal protection of the laws. Equality ofrights under law shall not

be denied on account of the sex ofany person. The effective date ofthis amendment shall be July

1, 1973. (As amended November 7, 1972, effective July 1, 1973)." NM Const. art. II Sec. 18.

       69.     Defendants denied Plaintiff her property interest in an education without due

process oflaw, and failed or refused to reimburse her lost tuition for the 20 J 7, 2018 school years.

       70.     In placing the rights ofJoel Strandberg, a factually-litigated domestic abuser, equal
to, or above, the rights of Plaintiff's safety and educational interests, Defendants violated
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Plaintiff's right to Equal Protection of the laws, as female-identified, under the Constitution and

the State of New Mexico.

       71.     As a proximate result of Defendants' actions, Plaintiff has suffered losses and

emotional injury, as previously alleged.

       72.     The actions of the defendants were willful, wanton and in reckless disregard of

Plaintiff's Constitutional rights.

                                        COUNT IV-
                     U.S. Const. amend I, NM Const. art. II Sec. §4 and 17
                     (RETALIATION FOR EXPRESSION OF SPEECH)

       73.     Plaintiffs incorporate allegations in paragraphs 1 - 72 as if stated herein.

        74.     Plaintiffhas, and had, a U.S. Const. amend. I right to freedom of speech as enforced

through 42 U.S.C. §1983 with respect to public acconnnodations, and enjoys similar analogous

rights and protections found in NM Const. art II §§ 4 and 17, including fundamental rights to

safety and happiness.

        75.     Defendants' actions and omissions, in denying her property, tuition, and education

were made in partial retaliation for b.er calling attention to Defendants' actions or omissions

detailed herein, and for calling attention to the difficulty of similarly-situated law students and

other survivors of domestic violence on campus.

       76.     Defendants further retaliated against the Plaintiff by repeatedly suggesting and/or

requesting she quit school and leave UNMSOL, rather than themselves talcing proactive action in

investigating and resolving Plaintiff's alleged violations of her Order of Protection, instituting

disciplinary proceedings, and/or otherwise failing or refusing to enforce a validly issued,

previously-contested, and fully-litigated Order of Protection, issued by the District Court of the

State of New Mexico.

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       77.     Defendants further retaliated against Plaintiff by academically suspending her.

        78.    Defendants' actions were additionally undertaken following, and in response to,

Plaintiffs' statements made in calling attention to the violation of her Constitutional rights and

right to enforcement of her protection order, or otherwise attempt to enforce her right to safety

and speech found under NM C�nst. Art. II §§ 4 and 17.

        79.    Defendant had no lawful reason to suppress Plaintiff's speech or to talce action

against Plaintiff based on her speech or lack of speech.

        80.    Defendant kept the Plaintiff in a situation where if she spoke to her professors about

the fear she was experiencing, and the lack of institutional response, she would be asking her

professors to side against the Defendants and their employers.

        81.    The Defendant did not express any regard for the danger the Plaintiff was in and

therefore silenced her expressipn of rational fear.

        82.    Defendant's retaliatioI\, through seizing Plaintiff's property, was wrongful.

        83.    As a proximate and actual result of dc;,fendants' actions, Plaintiff has suffered

losses and injury, as previously alleged.

        84.    The actions of Defendants were intentional, wanton, and/or reckless in their
disregard for Plaintiff Tucker's civil aQd Constitutional rights.

                     COUNT V- FOURTEENTH AMENDMENT CLAIM
                       VIOLATIONS OF PLAINTIFF'S RIGHT TO
                    PROCED!,JRALAND SlJBSTANTIVE
                                            1     DUE PROCESS
                    VIOLATIONS OF CLERY ACT 20 U.S.C. § 1092, et al

       85.     The Plaintiff incorporates the preceding paragraphs by reference herein.

        86.    On June 4, 2018, the UNM office of equal opportunity responded in an email, to

the plaintiffs Title IX complaint stating that, "Our. office does not have jurisdiction over violations

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of a protection order granted by the courts ..."

       87.       While not providing for a direct cause of action, under the Clery Act, Universities

do have jurisdiction over students' complaints, pertaining to domestic violence, stalking, and in

the instant case (i.e. stalking and aggravated stalking).

       88.      Under the Clery Act, any student or employee who becomes a victim of dating

violence, domestic violence, sexual assault, and stalking (whether on or off campus) has the right

to receive written explanation of their rights and options.

       89.       The Plaintiff did not receive any such written information from the Defendants,

whether it be advising her on her rights and options under Title IX in pursuing a complaint, the

Clery Act, or her rights and remedies under areas of both New Mexico and federal law.

       90.       Colleges and wµversities must have and reasonably enforce a policy for on campus

disciplinary proceedings (front investigation to the hearing to the final resolution) for dating

violence, domestic violence, s�xual assJiult, and stalking, and the school of law (UNMSOL) is not

exempt.

       91.       Such campus disciplinary proceedings must: A) Be prompt, fair and impartial; B)

Be adjudicated by officials receiving annual training on: issues of dating violence, domestic
violence, sexual assault, and stalking; and conducting investigations and hearings that protect

safety of victims and promotes accountability.

       92. The procedural Due Process rights for both the victim and accused include:
       A) The same opportunity to have others present as witnesses.

       B) Opportunity to be accompanied by an advisor of their choice.

       C) Receive simultaneous written notification of: delay and the reason for the delay;
             outcome of disciplinaiy hearing; opportunity to appeal the result; changes to results;

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           results that are final; and reason for the results and sanction imposed.
93.     No such notice of procedural rights was given to the Plaintiff, nor were the existence of

procedural due process rights shared with the Plaintiff, even after Plaintiff reported the many

violations of a lawfully issued Order of Protection to the school's administration.

94.     Plaintiff has, and had, both Procedural and Substantive Due Process rights under U.S.

Const. amend. XIV and 42 U.S.C. §1983.

95.     On July 2, 2018, Plaintiff's rights under U.S. Const. amend. XIV were further violated

when she was placed on academic suspension, under the pretext of lack of academic performance,

for calling attention to Defendants' failures to investigate and timely adjudicate Plaintiff's reports

ofViolations #1-10, as mandated under the Clery Act

96.     Defendants' actions and omissions, in failing to enforce to provisions of the Clery Act,

actually and proximately caused a deprivation of Plaintiff's procedural and substantive right to

Due Process, as guaranteed under both U.S. Const. amend. XIV and NM Const. art. II Sec. 18.

97.     Defendants' actions an� omis$ions, in violating Plaintiff's rights, led to damages as detailed

previously herein.

                      COUNT VI- NEW MEXICO CIVIL RIGHTS ACT

98.     The Plaintiff incorporates the preceding paragraphs by reference herein.

99.     "A public body or person acting on behalf of: under color of or within the course and

scope of the authority of a public body shall not subject or cause to be subjected any resident of

New Mexico or person within the state to deprivation of any rights, privileges or immunities

secured pursuant to the bill of rights of the constitution ofNew Mexico." See 2021 N.M.ALS

119, 2021 N.M. Laws 119, 2021 N.M. Ch. 119, 2021 N.M. HB 4, 2021 N.M.ALS 119, 2021

N.M. Laws 119, 2021 N.M. Ch. 119, 2021 N.M. HB 4. As effective July I, 2021.

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100.     ''B. A person who claims to have suffered a deprivation of any rights, privileges or

immunities pursuant to the bill of rights of the constitution ofNew Mexico due to acts or omissions

of a public body or person acting on behalf of, under color of or within the course and scope of the

authority of a public body may maintain an action to establish liability and recover actual damages

and equitable or injunctive relief in any New Mexico district court." Id.

101.     Under the provisions of the New Mexico Civil Rights Act, qualified immunity is

unavailable as a defense to Plaintitrs NM Const. art. II §§ 4, 17, and 18 claims. Id.

102.     Under the provisions of the New Mexico Civil Rights Act, Defendants may not claim they

were unaware of the provisions of the Clery Act, or that the Clery Act was not well-established

law, in failing, or refusing to enforce, Plaintitrs fundamental rights to. Due Process, Equality,

Speech, Safety and Happiness guaranteed under NM Const. art. II §§ 4, 17, and 18.

103.     In failing or refusing to enforce Plaintiff's rights under the New Mexico Constitution and

the Clery Act, Defendants wer� the a�tual and proxim� causes of damages as detailed herein.

                                    REOUESJS FOR JlELIEF
                                      I   I
                                               •               ;




        WHEREFORE, Plaintiff se�ks the following relief:

I.       Actual and compensatory damages sufficient to make Plaintiff whole against the

         Defendants, including, but not limited to, unreimbursed tuition, remedial tuition at a

         replacement school of higher education of Plaintitrs choice, lost wages and prospective

         employment income, loss of quality of life and emotional distress, and compensatory

         damages for deprivation of the civil and Constitutional rights themselves, as determined

         by ajury.

II.      Punitive damages, for those counts allowable by law, to be directed to agencies, coalitions,

         victims, and/or non-profits (at the Plaintiffs discretion) to support victims of domestic
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        violence, dating violence, harassment, discrimination, and/or stalking.

m.      Attorneys' fees, litigation expenses, costs, pre- and post-judgment interest as provided by

        law; and

IV.     Specific relief in the following forms:

        A. A full refund of tuition for the 2017-2018 school year.

        B. The installment of a Mandatory Title IX coordinator at the UNM School of Law, in

           addition to that assigned on main campus, with specific authority to liaison with UNM

           police and local law enforcement, to thereby investigate, adjudicate, and enforce Orders

           of Protection, civil restraining orders, and/or No contact orders.

        C. Mandatory compliance of procedural rights outlined in the Clery Act, to include actual

           written work prodqct and brochure to be developed by Defendants and to be used in

           advising students of their procedural and substantive due process rights, to be

           subsequently apprQved for distribution by either the Court or a designated special

            master.

        D. Designated and exclusive security personal to be available and present within

           UNMSOL campus buildings when there is a safety concern for students, and if
           requested by the mandatory Title IX coordinaior, in addition to security available

            through UNM main campus police.

        E. Mandatory training for all members of the UNMSOL Administration on compliance

            with the Clery A�t, and training on the requirements of the New Mexico Family

           Violence Protection Act, as conducted by an outside and reasonably compensated

           trainer who does not maintain current employment by the law school.
V.      Such other and further relief as the Court or jury deems just and proper.
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                            Respectfully submitted,

                            Isl Derek V. Garcia CAID #101154
                            DEREK V. GARCIA
                            MICHELLE GARCIA


                            NEW MEXICO LEGAL AID, INC.
                            Safe2BU! - New Mexico LGBTQ+ Legal Access Project
                            New Mexico Legal Aid, Inc.
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